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                            IN THE UNITED STATES DISTRICT COURT
16                           NORTHERN DISTRICT OF CALIFORNIA
                                   SAN FRANCISCO DIVISION
17
     In re: CATHODE RAY TUBE (CRT)                      )   Case No. 07-5944 SC
18   ANTITRUST LITIGATION                               )   MDL No. 1917
                                                        )
19   This Document Relates to:                          )   REPLY MEMORANDUM OF LAW
                                                        )   IN SUPPORT OF DEFENDANTS’
20   INDIRECT-PURCHASER ACTIONS                         )   MOTION TO STRIKE THE
                                                        )   PROPOSED EXPERT TESTIMONY
21                                                      )   OF DR. JANET S. NETZ
                                                        )
22                                                      )   Date: To be heard on same date
                                                        )          as class certification.
23                                                      )   Place: JAMS Resolution Center
                                                        )   Special Master: Hon. Charles A. Legge
24                                                      )
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28
     REPLY MEMORANDUM OF LAW I/S/O DEFENDANTS’ MOTION TO STRIKE                     Case No. 07-5944 SC
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 1                                      PRELIMINARY STATEMENT

 2          Plaintiffs’ Opposition to Defendants’ Motion to Strike the Proposed Expert Testimony of Dr.

 3   Janet S. Netz (“Opposition” or “Opp’n”) is based on the false premise that this Court can abdicate its

 4   responsibility to scrutinize the reliability and admissibility of Dr. Netz’s testimony simply because

 5   an undisclosed analysis submitted by Dr. Netz regarding totally different products, competitive

 6   forces, and time periods was admitted by Judge Illston in In re TFT-LCD (Flat Panel) Antitrust

 7   Litigation (“LCD”). The issue before this Court is not whether Dr. Netz’s testimony in support of

 8   class certification was admitted in a different litigation involving different facts, or even whether her

 9   techniques and methodologies would be proper in a different context; rather, the issue here is

10   whether the expert testimony offered by Dr. Netz is reliable as applied to the specific data and facts

11   in this case. See, e.g., Cascade Yarns, Inc. v. Knitting Fever, Inc., No. C10-861RSM, 2012 WL

12   5194085, at *3 (W.D. Wash. Oct. 18, 2012) (FRE 702 calls for a “fact-specific inquiry”); Reed v.

13   Advocate Health Care, 268 F.R.D. 573, 594 (N.D. Ill. 2009) (the relevant inquiry “is not whether

14   [plaintiffs’ expert’s] techniques are generally accepted; it is whether they are appropriate when

15   applied to the facts and data in this case”).

16          Moreover, Plaintiffs are precluded from even advancing the claim that Dr. Netz’s expert

17   analysis here is substantially similar to her reports admitted in the LCD litigation, as Plaintiffs and

18   Dr. Netz have refused to produce unredacted versions of those reports and their underlying details.1

19   Plaintiffs cannot use Dr. Netz’s undisclosed work as both a sword and a shield by claiming, on the

20   one hand, that her LCD reports support the admissibility of her work here, yet refusing, on the other

21   hand, to produce that work to allow Defendants and the Court to test the veracity of that assertion.

22   As a matter of law and fundamental fairness, this Court must disregard Plaintiffs’ arguments about

23
     1
24     Netz Tr. 296:1-5 (“Q. You’re not able to produce in this case to us your work from the LCD case;
     is that correct? A. I believe that’s correct.”); id. at 297:3-299:7, 318:6-320:15, attached in its
25   entirety as Exhibit 1 to the concurrently filed Reply Declaration of Eva W. Cole in Support of
     Defendants’ Reply Memorandum of Law in Support of Defendants’ Motion to Strike the Proposed
26   Expert Testimony of Dr. Janet S. Netz (“Cole Reply Decl.”), March 25, 2013; see also Cole Reply
     Decl. Exs. 2 & 3 (DVDs of Dr. Netz’s deposition testimony). Indeed, it is precisely because
27   Defendants were denied access to Dr. Netz’s LCD reports that they were not addressed in
     Defendants’ opening brief.
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     REPLY MEMORANDUM OF LAW I/S/O DEFENDANTS’ MOTION TO STRIKE                            Case No. 07-5944 SC
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 1   Dr. Netz’s testimony in LCD and decide on the record here whether Dr. Netz’s testimony meets the

 2   Daubert2 test.

 3            As shown in Defendants’ moving brief, and as further demonstrated below, Dr. Netz’s

 4   testimony in this litigation does not come close to satisfying the rigorous standard Plaintiffs must

 5   meet.3     To the contrary, Dr. Netz’s new declarations and deposition testimony only serve to

 6   underscore and confirm that her pervasive reliance on unsupportable factual assumptions and

 7   unreliable methodologies requires that her testimony be excluded from this case.

 8            For example, Dr. Netz’s new testimony starkly illustrates that her opinion that cartel

 9   overcharges were uniformly passed through to each and every class member – an opinion critical to

10   plaintiffs’ ability to meet their burden at class certification of presenting a common method of proof

11   of impact – rests on pure speculation and unsupported factual assumptions.4 Dr. Netz unequivocally

12   asserts that “all” putative indirect purchaser class members suffered pass-on injury, premised on

13   three factual assumptions about the alleged cartel price increases – that such cost increases caused by

14   the cartel were: (a) “industry wide;” (b) “significant” in magnitude; and (c) “permanent.”5 She

15   further opines that the competitive nature of the CRT distribution chain would “preclude” any pass-

16   on of a cartel price increase if even one of these three factual assumptions were not correct.6 But Dr.

17   Netz admits that she has done no analysis to determine that any of these assumptions about pass-on

18   are valid in this case. To the contrary, not one of these assumptions can be supported by the record

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     2
       Daubert v. Merrell Dow Pharm., 509 U.S. 579 (1993) (“Daubert”).
22   3
        For a further explanation of the defects in the Netz analyses that render them economically
23   unreliable, see the Rebuttal Declaration of Robert D. Willig filed in support of this motion (“Willig
     Rebuttal Decl.”).
     4
24      Willig Rebuttal Decl. ¶¶ 15-17.
     5
25     See Decl. of Janet S. Netz, Ph.D., in Support of Indirect-Purchaser Plaintiffs’ Opp’n to Defendants’
     Motion to Strike the Proposed Expert Testimony of Dr. Janet S. Netz (N.D. Cal.) No. CV-07-5944-
26   SC (Feb. 15, 2013) (“Netz MTS Decl.”) 5; Rebuttal Declaration of Janet S. Netz, Ph.D., in Support
     of Motion of Indirect-Purchaser Plaintiffs for Class Certification (N.D. Cal.) No. CV-07-5944-SC
27   (Feb. 15, 2013) (“Netz Rebuttal Decl.”) 62; Netz Tr. 272:24-273:13.
     6
         Netz MTS Decl. 5; Netz Tr. 273:9-13.
28
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 1   here.7

 2            No Support for “Significant” Overcharges. Dr. Netz readily concedes that she has done no

 3             analysis to determine whether the alleged cartel overcharges – the difference between the

 4             actual price and the but-for price that would have prevailed absent the alleged cartel – were

 5             “significant.” This is hardly surprising given that Dr. Netz has not calculated the but-for

 6             price of any CRT, let alone all of them during the class period, leaving her with no basis to

 7             determine or opine on whether the alleged cartel price increases – whose magnitude she has

 8             not even attempted to measure – were “significant:”8

 9                Q. And as we’re sitting here today, you can’t testify that any of them were
                  significant? Throughout the entire cartel period, you haven’t yet measured them, so
10                you can’t give an opinion as to whether even a single one is significant or not?
11                A. Well, here – I guess, yes, that is true.”9
12             There is thus no record basis at all to support Dr. Netz’s critical assumption that all of the
13             alleged CRT cartel price increases were “significant” and, consequently, no record basis to
14             support her testimony of uniform 100% pass-on of any overcharge. This undisputed and
15             gaping hole in one of Dr. Netz’s three self-defined essential factual assumptions is by itself a
16             sufficient basis to exclude her pass-on opinion.
17            No Support for Industry-wide Price Increases. Similarly, Dr. Netz asserts that the alleged
18             CRT cartel caused “industry-wide” price increases—meaning that the alleged cartel caused
19             prices to increase for all industry participants at each level of the distribution chain. But she
20             offers no evidence for this critical factual assumption, only pure ipse dixit.10 Indeed, Dr.
21             Netz admitted that “there’s no evidence in this case” that “when the price of a CRT was
22
     7
23     Willig Rebuttal Decl. ¶ 16 (“[T]he evidence indicates that not all CRTs’ prices were elevated
     significantly and permanently by the actions of the alleged cartel as Dr. Netz claims.”); see also id.
24   ¶¶ 112-113.
     8
       See id. ¶ 113 (“[S]ince Dr. Netz has not estimated but-for prices, none of her analyses is capable of
25   establishing that the putative cartel succeeded in elevating CRT prices significantly, and Dr. Netz
     acknowledged in her deposition that she has not established that all putative CRT price increases by
26   the alleged cartel were significant.”).
     9
27     Netz Tr. 326:19-24 (emphasis added).
     10
          Id. at 281:13-285:11, 285:23-287:5, 300:1-12.
28
                                                           3
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 1             increased . . . that the price of any component of a plasma television was increased.”11 She

 2             further conceded that she has not done any comparison of CRT prices with LCD or plasma

 3             prices, that she has not done any analysis of the CRT prices of a company like Sony, which

 4             made its own unique CRTs that it did not purchaser from Defendants and is not alleged to

 5             have been a conspirator, and that she cannot even identify alleged cartel target prices for 74%

 6             of Defendants’ CRT sales.12 On this undisputed record, Dr. Netz’s assumption that the

 7             alleged cartel cause “industry-wide” price increases is simply frivolous at the product

 8             manufacturer level. Moreover, there is also no basis in the record to support Dr. Netz’s

 9             “industry wide” cost increase assumption at the retailer level. Dr. Netz failed to study the

10             CRT product pricing data for the vast majority of the finished CRT product retailers in the

11             industry; instead, she relied on nothing other than her “subjective judgment” to conclude that

12             the very limited retailer pricing data she did study was representative of an entire retailer

13             population that she could not identify in either total or type.13 Dr. Netz also admitted that

14             retailer “power buyers” could have the ability to negotiate better terms with finished CRT

15             product suppliers than other retailers, but she never examined whether such “power buyers”

16             existed in this case or whether they were able to resist any cost increases.14 For all of these

17             reasons, it is clear that Dr. Netz’s assumption that the alleged cartel resulted in “industry-

18             wide” price increases to all retailers is unsupported by the record evidence and cannot

19

20   11
         Netz Tr. at 300:7-12 (“A. Yes, I agree with that.”); see also Willig Rebuttal Decl. ¶ 113
21   (“[C]ompetition from flat screen technologies would have constrained the ability of the putative
     cartel to elevate prices of some CRTs during certain periods, especially since Dr. Netz does not
22   claim that the alleged CRT cartel coordinated LCD or plasma prices in addition to CRT prices.”).
     12
        Id. at 287:2-5, 288:19-22 (Q. “[Y]our conclusions here are based without doing any reliance on
23   anything – any study of LCD prices; right? A. Any price study, that’s correct.”); id. at 300:7-12 (“Q.
     So am I correct that there’s no evidence in this case . . . that when the price of a CRT was increased .
24   . . that the price of any component of a plasma television was increased? A. Yes, I agree with
     that.”); id. at 281:21-285:11 (“Q. Have you done any comparison of Sony’s CRT prices with the
25   prices of . . . the defendants? A. No, I have not.”); id. at 321:5-9 (“Q. Okay. So . . . you concede
     that you don’t have any target prices you’ve been able to identify to cover, so far, approximately 74
26   percent of the CRT sales at issue? A. That would be the right implication, yes.”).
     13
27      Id. at 357:22-358:3, 360:1-361:3.
     14
          Id. at 314:1-316:20.
28
                                                          4
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 1            provide an admissible basis for her testimony in this case.15

 2           No Support for Permanent Price Increases. To complete the trilogy of failures, Dr. Netz

 3            was forced to admit that she has not conducted any analysis of the third leg of her “pass-on”

 4            stool – the assumption that each of the alleged CRT price increases was “permanent.” Dr.

 5            Netz testified that she has not done any study of how often Defendants changed their CRT

 6            prices during the class period16 or the duration of any alleged CRT cartel target prices, many

 7            of which were in effect for only three months.17 In fact, when asked how long the alleged

 8            cartel price increase has to be in effect to be considered “permanent” for purposes of her

 9            universal pass-on conclusion, Dr. Netz candidly replied: “I have not studied that issue at this

10            point.”18 It is simply not proper for Dr. Netz to use her unsupported assumption that the

11            alleged cartel was “effective” as the sole support for her assumption that all of the alleged

12            cartel price increases were “permanent.” This is especially true in the face of what even Dr.

13            Netz conceded to be increasing competition and market share increases from LCD and

14            plasma products during the alleged cartel period that were, by definition, not the subject of

15            any CRT price increases.19

16   For all these reasons, Dr. Netz’s three critical factual assumptions regarding pass-on are

17   demonstrably without any basis in the record and her pass-on testimony must be excluded from this

18   case.

19            Likewise, Dr. Netz’s most recent testimony confirms numerous other fatal defects in her

20   methodologies and assumptions that require her testimony to be held inadmissible. For example, she

21
     15
22      See Willig Rebuttal Decl. ¶ 113 (“Dr. Netz’s claim of an across-the-board, significant, and
     permanent increase in CRT prices and a minimum pass-through rate of 100% is inconsistent with the
23   evidence [which] show[s] that the alleged cartel was not uniformly or consistently effective (if at all)
     in elevating CRT prices.”).
24   16
        Netz Tr. 336:20-337:10.
     17
25      Id. at 333:19-334:3, 401:11-14.
     18
26      Id. at 328:11-25.
     19
        Id. at 56:13-16, 226:6-9, 382:18-25; see also Willig Rebuttal Decl. ¶ 113 (“[C]ompetition from
27   flat screen technologies would have constrained the ability of the putative cartel to elevate prices of
     some CRTs during certain periods.”)
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                                                         5
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 1   now admits that:

 2           (i)     She relied solely on her “subjective judgment” to decide that her non-random

 3                   “samples” of manufacturer, distributor and retailer pricing data were “representative”

 4                   of the entire industry, and used no objective criteria;20

 5           (ii)    There could be an “unknown” number of transactions in her pricing data reflecting a

 6                   complete absence of pass-on to various class members, yet she did not try to identify

 7                   or quantify these transactions or report anything but “average” pass-on results from

 8                   her regression analyses.      Instead, she simply dismissed those transactions as

 9                   “anomalies” without knowing what or how many there are;21 and

10           (iii)   In contrast to her testimony that all class members were impacted, she admitted that

11                   there could “very well” be numerous instances of “economically meaningless”

12                   pricing transaction data in her regression analyses as a result of CRT transfers

13                   between vertically-related, but commonly-owned, CRT businesses, but she did not

14                   study this issue.22

15   Indeed, Dr. Netz now admits that outside the litigation context, she cannot identify any peer-

16   reviewed publication that talks about or supports the type of methodology she used to conclude that

17   there was a “price structure” for CRT models and sizes.23 Further, she concedes that she could not

18   conclude from her target price analysis that the alleged CRT cartel was effective for the many sales

19   of CRTs that she calculated to be 25% or more below the alleged cartel target prices, and that it

20   would be “borderline” to offer any effectiveness opinion from such a study for those that were 15%

21

22   20
        Netz Tr. 360:15-361:3, 364:18-21, 366:11-20, 370:22-371:9.
     21
23      Id. at 338:3-343:25, 346:13-18.
     22
24      Id. at 381:18-23; 375:12-22.
     23
        Id. at 389:9-13; see also Willig Rebuttal Decl. ¶69 (“As [Professor Willig] noted in [his] report,
25   Dr. Netz’s concept of a ‘price structure’ is not a standard concept found in the economics literature,
     and the establishment of a ‘price structure,’ however defined, as evidence that a class should be
26   certified is not an approach generally accepted by economists. Indeed, Dr. Netz admitted at her
     deposition that she is unaware of any peer-reviewed article that uses the term price structure in the
27   context of an unregulated industry (i.e., an industry in which prices/fares are not determined by an
     external government authority).”).
28
                                                         6
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 1   or more below the purported cartel target prices.24

 2             In sum, there is no admissible foundation for Dr. Netz’s testimony that there is a reliable

 3   economic methodology to prove, through common economic evidence, that all members of the

 4   purported class suffered injury from the alleged CRT cartel.25 Instead, the undisputed facts show

 5   that there were tens of millions of individualized transactions experienced by putative class

 6   members, at different prices under different factual circumstances through different distribution

 7   channels, all of which Dr. Netz simply tries to assume away. It is the responsibility of this Court

 8   under the Federal Rules of Evidence and the principles of Daubert to exclude such “junk science”

 9   from this case.

10                                               ARGUMENT

11   I.        PLAINTIFFS MISSTATE THE CONTROLLING STANDARDS

12             Defendants’ Motion to Strike (“Mot.” or “Motion”) is not an attempt to apply some
13   heightened standard for class certification under Federal Rule 23. The rule is straightforward: In an
14   antitrust class action like the instant case, plaintiffs bear the burden of establishing, through
15   admissible and reliable expert testimony, a common methodology that is capable of proving that
16   each class member sustained individual injury as a result of the alleged antitrust violation; in the
17   absence of such evidence, injury under Section 4 of the Clayton Act would have to be established on
18   an individual basis and class certification would not be possible. See, e.g., In re New Motor Vehicles
19   Canadian Export Antitrust Litig., 522 F.3d 6, 19 n.18, 28 (1st Cir. 2008) (vacating class certification
20   where plaintiffs’ evidence did not “include some means of determining that each member of the
21   class was in fact injured”); Blades v. Monsanto Co., 400 F.3d 562, 570, 573-74 (8th Cir. 2005)
22   (denying class certification where plaintiffs’ expert could not exclude uninjured class members
23   without engaging in “a fact-intensive inquiry unique to each potential class member”); Kottaras v.
24   Whole Foods Market, Inc., 281 F.R.D. 16, 24 (D.D.C. 2012) (denying class certification where
25   plaintiffs’ expert could not account for instances where class members did not pay higher prices); 2A
26
     24
27        Netz Tr. 354:12-355:19.
     25
          Willig Rebuttal Decl. ¶ 19.
28
                                                           7
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 1   Phillip E. Areeda et al., Antitrust Law ¶ 331d (3d ed. 2007) (“[T]he fact that some class members
 2   may not have been damaged at all generally defeats class certification, because the fact of injury, or
 3   ‘impact,’ must be established by common proof.”).26
 4           In this case, as in GPU,27 and Flash Memory:28
 5               [T]here are thousands of differentiated products with diverse price points that have
                 been purchased by putative class members over the course of the last decade. Such
 6               products are sold to class members by hundreds of different retailer suppliers. The
                 price of any given product can vary across retailers, and differ even for a single
 7               retailer at a given point in time. Further, different retailers respond to cost changes in
                 different ways, with some choosing not to pass-through cost changes in the form of
 8               higher prices for the end-user.
 9   Flash Memory, 2010 WL 2332081, at *10. Under these circumstances, an indirect purchaser class
10   cannot be certified absent reliable and admissible expert testimony that there is a common method
11   capable of proving fact of injury to all class members. GPU, 253 F.R.D. at 503, 505 (“the only way
12   to fully assess pass-through” with respect to non-fungible products sold at varying price points
13   “would be to conduct a wholesaler-by-wholesaler and re-seller-by-re-seller investigation”).
14   Plaintiffs have not come close to providing admissible expert testimony from Dr. Netz to satisfy this
15   burden.29
16           Contrary to what Plaintiffs would have this Court believe, it is not the jury’s role to “assess

17   the weight” of Dr. Netz’s testimony (Opp’n 4) unless and until the Court first determines that it is

18   reliable and admissible. See, e.g., Reed, 268 F.R.D. at 593-94 (“[w]hen it comes to the reliability of

19   26
        Even Dr. Netz thus recognizes that she must provide economic evidence that “all” class members
20   were harmed. See Netz MTS Decl. 5.
     27
        In re Graphics Processing Units Antitrust Litig., 253 F.R.D. 478 (N.D. Cal. 2008) (“GPU”).
21   28
        In re Flash Memory Antitrust Litig., C 07-0086, 2010 WL 2332081 (N.D. Cal. June 9, 2010)
22   (“Flash Memory”).
     29
        Plaintiffs continue to rely upon pre-Dukes authorities that do not correctly state the current Rule
23   23 standard, or inapposite cases that either involve the measure of damages, as opposed to classwide
     impact, or do not otherwise discuss the “common impact” requirement. See, e.g., Opp’n 24 n.51
24   citing In re Nasdaq Market-Makers Antitrust Litig., 169 F.R.D. 493, 523 (S.D.N.Y. 1996) (involving
     measure of damages); Blackie v. Barrack, 524 F.2d 891 (9th Cir. 1975) (inferring causation as to
25   each class member in the unique 10b-5 context on the basis of the materiality of the
     misrepresentation); In re W. Liquid Asphalt Cases, 487 F.2d 191 (9th Cir. 1973) (no discussion of
26   common impact test). Particularly misplaced is Plaintiffs’ reliance upon In re Live Concert Antitrust
     Litig., 247 F.R.D 98, 141 (C.D. Cal. 2007); Opp’n 24 n.51, where the court granted certification only
27   to later de-certify the class in light of Dukes and hold that the prior order had “little to no
     precedential value.” In re Live Concert Antitrust Litig. 863 F. Supp. 2d 966, 970 (C.D. Cal. 2012).
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 1   an expert’s methods,” the argument that the “battle of experts” is strictly for the jury “is incorrect”).

 2   As the gatekeeper under the Federal Rules of Evidence, the Court is required to scrutinize proposed

 3   expert testimony pursuant to Rule 702 and Daubert, 509 U.S. at 589-90, 592-93, including at the

 4   class certification stage. See, e.g., Ellis v. Costco Wholesale Corp., 657 F.3d 970, 982 (9th Cir.

 5   2011) (holding that the district court correctly applied the Daubert standard during the class

 6   certification process in ruling upon a motion to strike); Pecover v. Elec. Arts Inc., No. C 08-2820,

 7   2010 WL 8742757, at *2-3 (N.D. Cal Dec. 21, 2010) (conducting a full Daubert analysis at the class

 8   certification phase); see also Wal-Mart Stores, Inc. v. Dukes, 131 S. Ct. 2541, 2553-54 (2011)

 9   (indicating that Daubert fully applies to expert testimony at class certification). Indeed, certifying a

10   class on the basis of inadmissible and unreliable expert testimony – such as Dr. Netz’s here – would

11   result in irreparable harm, damage which could not be undone even if the Court were to strike Dr.

12   Netz’s evidence at a later stage of the case. See Pecover, 2010 WL 8742757, at *3 (such a ruling

13   would “consume vast judicial resources” and expose defendants to “substantial settlement

14   pressures”).

15   II.      PLAINTIFFS OFFER NO SUBSTANTIVE RESPONSE TO THE MANY
              POINTS DEMONSTRATING THAT DR. NETZ’S OPINIONS CONSTITUTE
16            INADMISSIBLE “JUNK SCIENCE”
17            Defendants’ Motion describes in great detail the many specific defects and false factual

18   assumptions in Dr. Netz’s expert testimony. These are not mere “technicalities,” but rather go to the

19   heart of whether Dr. Netz’s testimony is admissible or not. Plaintiffs’ response does nothing to

20   refute Defendants’ showing, merely regurgitating what Dr. Netz did and characterizing it as

21   “professional,” “careful,” “widely accepted” and “impeccable.” Opp’n 2, 17. Both Plaintiffs and

22   Dr. Netz fail to address substantively the many dispositive flaws in her study, simply glossing over

23   each error with the assertion that Dr. Netz’s assumptions and analyses were based on her “subjective

24   judgment.” See, e.g., Netz Tr. 360:15-361:3, 366:11-20, 370:22-371:4. But “subjective judgment”

25   is nothing more than expert ipse dixit, and the law is clear that such testimony does not meet the

26   Daubert test. See, e.g., Gen. Elec. Co v. Joiner., 522 U.S. 136, 146 (1997) (“[N]othing in either

27   Daubert or the Federal Rules of Evidence requires a district court to admit opinion evidence that is

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 1   connected to existing data only by the ipse dixit of the expert.”); Domingo v. T.K., M.D., 289 F.3d

 2   600, 606-07 (9th Cir. 2002) (excluding expert testimony under Daubert on the grounds that the

 3   conclusion was not “probable” from the studies cited and there was nothing but the expert’s “ipse

 4   dixit linking” the data to the conclusion); Perez v. State Farm Mut. Auto. Ins. Co., No. C 06-01962,

 5   2012 WL 3116355, at *2 (N.D. Cal. July 31, 2012) (explaining that an expert’s opinion may be

 6   excluded “on the ground that an expert’s purported methodology fails to explain his final

 7   conclusion”).

 8             A.     Dr. Netz’s Unreliable Assumption of Universal Pass-On by Manufacturers and
                      Distributors of Finished CRT Products
 9
               As discussed above, Dr. Netz concedes that her “universal” pass-through opinions that form
10
     the linchpin of her testimony are based on her economic “theory” that sellers of CRT products would
11
     have been compelled by competitive forces to pass on each of the alleged CRT cartel cost changes
12
     due to the competitive CRT distribution structure so long as each of the purported cartel cost
13
     increases were “industry-wide,” “significant,” and “permanent.” Netz MTS Decl. 5. Significantly,
14
     Dr. Netz further concedes that, under the economic theory on which she relies, a firm in a
15
     competitive market cannot pass through cost increases if any one of the three conditions are not
16
     satisfied. Id. Thus, putting aside her admission that one cannot determine injury from the alleged
17
     cartel on the basis of economic theory alone (Netz Tr. 371:24-372:10), Dr. Net’z opinion falters on
18
     its own terms unless the record evidence supports each of her three critical assumptions that the
19
     alleged cartel prices were industry-wide, significant, and permanent.30 However, there is not a shred
20
     of evidence in this record to support any one – let alone all three – of Dr. Netz’s critical assumptions.
21
               First, Dr. Netz readily conceded that because she has done no estimate of “but-for” prices,
22
     she cannot opine, at this time, whether even a single price increase by the alleged cartel was
23
     “significant” under her pass-on theory. Netz Tr. 326:19-24; see also Willig Rebuttal Decl. ¶ 10.
24
     Likewise, she admits that she has done nothing to determine how long a CRT cartel price increase
25
     would have to exist in this industry to be considered “permanent” for purposes of her pass-on
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     30
          See Willig Rebuttal Decl. ¶ 112.
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 1   analysis. Netz Tr. 328:11-25. Without any evidence or opinions to support either of these two

 2   critical factual assumptions, Dr. Netz’s entire pass-on testimony is rendered inadmissible. See, e.g.,

 3   Daubert, 509 U.S. at 590; McGlinchy v. Shell Chem. Co., 845 F.2d 802, 807-08 (9th Cir. 1988)

 4   (affirming the exclusion of expert reports with “no basis in the record” that “rest[ed] on unsupported

 5   assumptions and ignore[d] distinctions crucial to arriving at a valid conclusion”).

 6           Similarly, there is no record basis for Dr. Netz to assume an industry-wide CRT price

 7   increase to competitive finished CRT product manufacturers like Sony, who Plaintiffs do not claim

 8   was a part of the alleged CRT cartel, or competitors that sold products that use non-CRT technology,

 9   such as LCD and plasma products. Such industry members did not purchase any CRTs from the

10   alleged cartel and thus would not have incurred any cost increase in their components. Netz Tr.

11   56:13-16, 226:6-9, 284:13-285:11, 300:1-12. Further, Dr. Netz has now admitted that she has been

12   unable to identify an alleged cartel target price in the record for 74% of Defendants’ CRT sales

13   during the class period. Id. at 321:5-9. There is thus no record support for any “industry-wide”

14   cartel cost increase assumption.31

15           The only supposition Dr. Netz was able to advance for why Sony, LCD and plasma product

16   competitors would experience a cost increase even though they did not purchase any CRTs from

17   alleged cartel members, and were not part of any alleged CRT conspiracy, is that, as a matter of

18   economic theory, they could have used the CRT cartel price increases as an opportunity to raise their

19   own finished product prices. Id. at 279:23-283:18, 285:23-287:5. However, Dr. Netz has no

20   evidence of that. Nor does she have any way to discount the more plausible possibility, fully

21   consistent with economic theory, that these companies, who operate in a “highly competitive”

22   distribution market and who would not experience a component cost increase as they did not

23   purchase CRTs from the alleged cartel, would not increase their finished product prices in favor of

24   trying to increase their market shares at the expense of those companies participating in the CRT

25   cartel. Id. at 283:19-287:5. This possibility, which Dr. Netz did not study, is especially likely to

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     31
       Willig Rebuttal Decl. ¶ 113 (“Dr. Netz has provided no sound basis to conclude that the alleged
27   cartel was able to elevate prices in an industry-wide, significant and permanent manner, which
     undermines her claim of universal pass-through.”).
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 1   have been the case because, as Dr. Netz conceded, LCD and Plasma producers substantially

 2   increased their market shares at the expense of members of the alleged CRT cartel throughout the

 3   class period. Id. at 292:11-15; Netz Rebuttal Decl. 2. Moreover, Dr. Netz has never compared

 4   Sony’s CRT prices to changes in CRT cartel target prices to determine if there was any correlation.

 5   Netz Tr. at 285:6-11. Dr. Netz’s assumption of industry-wide cost increases caused by the alleged

 6   cartel is thus pure speculation which cannot be supported by the record.

 7           In addition, Dr. Netz’s assumption of industry-wide pass-on at the manufacturer and

 8   distributor levels is defective and inadmissible because she concedes that she used nothing more than

 9   her “subjective judgment” to conclude that her non-random sample of only one tube manufacturer,

10   three monitor makers and two television makers, accounting for less than 3% of global monitor

11   manufacturing and less than 9% of TV manufacturing, were representative of the entire industry

12   population, which she could not even define.32 Mot. 21-22; Netz Tr. 137:9-23, 366:5-371:9. As

13   explained by Dr. Netz in the most candid manner:

14               Q. Okay, I understand you used your judgment. What I’m trying to understand is
                 other than looking at it and subjectively saying these look representative, did you
15
                 apply any particular objective criteria to decide why I want these [retailer data] as
16               opposed to others?

17               A. As I said, there is no objective criteria. There is no statistical law, rule, guideline
                 that says if you’re doing an analysis, you want a firm that has the – whatever same
18               number of employees, same number of sales, et cetera. There simply is no such
19               criteria. The only criteria are subjective criteria.”

20   Netz Tr. 360:15-361:3. On this point, Dr. Netz is wrong as a matter of law.

21           Regardless of who selects the data, it must be representative to provide a basis for admissible

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     32
          See id. Willig Rebuttal Decl. ¶ 147
23

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 1   expert testimony.    See, e.g., Rojas v. Marko Zaninovich, Inc., No. CIV-F-09-0705, 2011 WL

 2   6671737, at *4-5 (E.D. Cal. Dec. 21, 2011) (concluding that expert report was “marred by serious

 3   methodological flaws” including its failure to factor in all data); LeClercq v. Lockformer Co., No. 00

 4   C 7164, 2005 WL 1162979, at *4 (N.D. Ill. Apr. 28, 2005) (excluding expert’s opinion which relied

 5   on only some of the sampling data); Finestone v. Florida Power & Light Co., No. 03-14040, 2006

 6   WL 267330, at *12 (S.D. Fla. Jan. 6, 2006) (finding the expert’s methodology unreliable as he did

 7   not “adequately explain why he chose only the thirty-two samples” and “not the remaining

 8   samples”).33

 9           Plaintiffs claim that Dr. Netz’s data should be considered representative because she looked

10   “to see if several different analyses converge to the same conclusion” and she looked “to the

11   standard errors and the resulting confidence intervals for each dataset.”34       Opp’n 21. Neither of

12   these assertions does anything to address the fundamental defect in using a non-random sample

13   without any objective test or criteria to determine representativeness. See Willig Rebuttal Decl. ¶

14   148 (“Dr. Netz has provided no sound reasons to conclude that her limited sample of CRT finished

15   product manufacturers provides a reliable basis to opine about pass-through rates at the many

16   manufacturers she has not analyzed.”); id. ¶ 149 (“[E]ven among the retailers in her sample, the

17   average pass-through rate she estimates is not necessarily representative of pass-through rates

18

19
     33
20      Plaintiffs’ only response to these cases is that they involve experts who are not economists. Opp’n
     15. But Plaintiffs cite nothing for the strange and unsupportable proposition that economists are
21   somehow not required to use a sound methodology for selecting data, but other experts are. This, of
     course, is not the law. See, e.g., Rowe Entm’t, Inc. v. William Morris Agency, Inc., No. 98 CIV,
22   8272, 2003 WL 22124991, at *3 (S.D.N.Y. Sept. 15, 2003) (excluding expert testimony of an
     economist that was based on non-random data without any showing that the sample used was
23   representative of the population as a whole).
     34
        Dr. Netz’s admission that she used a non-random “subjective” sample for her pass-on analyses
24   underscores the reliability problem. See Utah v. Evans, 536 U.S. 452, 466-67 (2002) (representative
     or probability sampling is “[t]he . . . methodology . . . typically used by statisticians seeking to find a
25   subset that will resemble a whole through the use of artificial, random selection processes . . . .”)
     (emphasis added); see also REFERENCE MANUAL ON SCIENTIFIC EVIDENCE, REFERENCE GUIDE ON
26   STATISTICS 230 (3d ed. 2011) (“Probability methods are designed to avoid selection bias. . . . [T]he
     units to be measured are selected by a lottery that gives each unit in the sampling frame a known,
27   nonzero probability of being chosen. Random numbers leave no room for selection bias.”). Her
     stubborn refusal to employ any such objective test renders her testimony inadmissible.
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 1   associated with specific finished products in specific periods.”).35 Without any objective standard

 2   for a non-random data selection, Dr. Netz’s pass-on analysis should be excluded for this reason

 3   alone.36

 4           B.     Dr. Netz’s Unreliable Assumption of Universal Pass-On at the Retail Level

 5           Dr. Netz likewise has no admissible basis to support her opinion that the alleged overcharges

 6   on CRTs were passed through at a rate approximating 100% by every retailer to every consumer

 7   regardless of the product purchased, the relevant distribution channel, or even the price paid. Netz

 8   Rebuttal Decl. 74-75; Netz Tr. 90:14-92:25. It is undisputed, for example, that Dr. Netz did not

 9   trace even one cost increase on CRTs through the retail level for finished CRT products to see if

10   there was actual “pass-through” to an individual consumer in an individual transaction. Netz Tr.

11   240:19-242:23, 340:23-343:25. Further, she admits that she did not study the pricing data for the

12   vast majority of such retailers in the industry, including many of those who are parties to this MDL,

13   such as Circuit City and Target. See, e.g., id. at 69:19-71:8, 80:24-82:5, 84:19-22.

14           Most profoundly, the same false factual assumptions and defective methodologies that Dr.

15   Netz relied upon at the manufacturer level for her universal pass on assumption also render

16
     35
17      see also REFERENCE MANUAL ON SCIENTIFIC EVIDENCE, REFERENCE GUIDE ON ESTIMATION OF
     ECONOMIC DAMAGES 483 (3d ed. 2011) (“If the expert elects to study a sample of the data, the expert
18   needs to have carefully considered how the information will be used to ensure that the data sample is
     large enough and contains sufficient information.”); REFERENCE MANUAL ON SCIENTIFIC EVIDENCE,
19   REFERENCE GUIDE ON STATISTICS 217 (3d ed. 2011) (“The population is the whole class of units that
     are of interest; the sample is the set of units chosen for detailed study. Inferences from the part to
20   the whole are justified when the sample is representative.”) (emphasis added).
     36
        See Willig Rebuttal Decl. ¶ 150 (“Dr. Netz has conducted no objective analysis of whether the
21   samples of CRT TV and monitor sales she examines are representative of the relevant population of
     finished product sales. For example, she could have compared data from her sample of
22   manufacturers with data from her sample of retailers to determine if the data are consistent.
     [Professor Willig] ha[s] examined them and found them to be substantially inconsistent in their
23   coverage of finished products.
24                                                                                Similar mismatches are
     apparent in other years and for other size groups of monitors and TVs, which indicate that the data
25   are not likely to be representative. Even if Dr. Netz’s sample of retailers and manufacturers were
     consistent in terms of the size distributions of TVs and monitors sold by such entities, the entities in
26   her sample may not be representative of the overall population of retailers and manufacturers along
     other dimensions (such as business models employed) that potentially matter for pass-through rates.
27   Dr. Netz has conducted no objective analysis of the representativeness of her sample along these
     dimensions.”).
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                                                       14
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 1   inadmissible her universal pass on assumption at the retailer level. Specifically, it remains the case

 2   that Dr. Netz cannot, and does not, offer any opinions about the “significance” or the “permanence”

 3   of any cartel-inflicted cost increases that allegedly made their way to the retail level. See Section

 4   II.A, supra. Further, she cannot support her assumption of an “industry-wide” cost increase at the

 5   retailer level, when she has no basis to assume any cost increase by Sony televisions, LCD or plasma

 6   products sold at the retail level given the undisputed fact that such products do not contain CRTs

 7   sold by the alleged cartel members. Netz Tr. 56:13-16, 226:6-9, 279:14-18, 284:13-285:11, 300:1-

 8   12.

 9            Dr. Netz also cannot support her assumption about “industry-wide” retailer cost increases in

10   finished CRT products as a result of the alleged cartel on the basis of what she concedes to be an

11   examination of only a non-random sample of pricing data for a handful of retailers, out of thousands,

12   without any objective criteria to determine that such non-random data is representative of the entire

13   relevant retailer population. Dr. Netz has thus admitted that she used only her “subjective judgment”

14   – and nothing more – to select her small non-random sample of pricing data for just six internet

15   retailers and nine brick and mortar retailers out of the thousands of retailers who sold finished CRT

16   products during the class period. Id. at 78:14-80:23, 360:15-361:6, 364:18-21.37 There is simply no

17   reliable basis for this Court to admit such non-representative data as a basis for Dr. Netz’s

18   assumption that there was universal pass-on of the alleged CRT cartel cost increase at the retailer

19   level. This is especially so given that Dr. Netz has not even studied the possibility that “power

20   buyers” among the retailers may have been able to resist all or some of the alleged CRT cost

21   increases (id. at 314:1-316:20), and the fact that Dr. Netz has

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25       Indeed, even the scholarly sources cited by Dr. Netz as purported support for her use of
     “subjective judgment” to make a sample selection in fact stated that an objective test, such as a
26   “large probability sample,” was required to use such non-random data. Netz MTS Decl. 7 n.24
     (citing REFERENCE MANUAL ON SCIENTIFIC EVIDENCE, REFERENCE GUIDE ON STATISTICS 211-302
27   (3d ed. 2011). As Dr. Netz admitted, she did not employ any such objective test. Netz Tr. 360:15-
     361:3.
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 3          Having had a full opportunity to pursue discovery, it is no excuse for Dr. Netz to claim that

 4   she used the only suitable data that Plaintiffs obtained for her. GPU, 253 F.R.D. at 505-06 (Netz

 5   study rejected despite claim that better data had not been obtained when full discovery was available

 6   to plaintiffs, who had the burden of gathering the evidence necessary to satisfy the prerequisites for

 7   class certification under Rule 23). As in Flash Memory and GPU, Dr. Netz has simply not done the

 8   economic analysis required to account for all of the various factors that affected pricing for different

 9   products purchased by different class members from different retailers in the distribution chain. See,

10   e.g., Flash Memory, 2010 WL 2332081, at *8, 11-12 (rejecting Dr. Netz’s analysis because it did not

11   account for the factual differences associated with the “various links in the distribution channel;”

12   explaining that Dr. Netz made “no attempt to assess whether pass-through rates vary by product or

13   by customer,” while claiming that all products are in the same market and subject to the same pass-

14   through rate without distinction); GPU, 253 F.R.D. at 504-506 (same).

15          Finally, Dr. Netz’s testimony on retailer pass-on is inadmissible for the additional reason that

16   it simply dismisses the only testimony in the record from actual retailers on the pass-on issue –

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25                                       Further, there is no contradictory retailer testimony in the record,

26   and therefore there is no basis for Dr. Netz to dismiss these record facts simply because they refute

27   her unsupported assumptions and conclusions.

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 6             Indeed, as Dr. Netz now knows – but still chooses to ignore – numerous major retailers have

 7   specifically denied in this very MDL that they passed on to their customers all of the specific CRT

 8   cartel price increases alleged in this case. See, e.g., Target Corp. v. Chunghwa Picture Tubes, Ltd.,

 9   No. 11-cv-05514, ¶¶ 106, 228 (N.D. Cal.) [Dkt. No. 9] (Jan. 6, 2012) (alleging that Target was “not

10   able to pass the inflated prices on to their customers”).39 Plaintiffs claim that such “[p]leading

11   allegations” can be ignored by Dr. Netz because they are not record evidence. Opp’n 20. But even

12   Dr. Netz has conceded that she should have studied these retailer claims because they are clearly

13   relevant to her analyses. Netz Tr. 60:5-16, 89:20-90:5. Her continued failure to examine the vast

14   majority of this data is just one more basis to find her testimony to be unreliable, divorced from the

15   record, and thus inadmissible.

16             C.     Dr. Netz’s Continued Reliance on Improper Averaging and Aggregation

17             As even Dr. Netz concedes, the use of averaging would not be proper in all economic studies

18   and analyses. Netz Tr. 347:6-11. Here, Defendants’ Motion provides detailed reasons why Dr.

19   Netz’s pervasive use of aggregation, averages and groups renders her specific testimony in this case

20   unreliable and inadmissible because it conceals, rather than identifies, the very price differences

21   among individual transactions and class members that are the subject of Dr. Netz’s “common

22   impact” testimony:

23            In her purported comparison of cartel target prices to “actual prices,” Dr. Netz “groups” the

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          See also Mot. 20 n.10.
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 1          target prices by certain characteristics, aggregates those groups, and then averages the

 2          transactional-level data to calculate “average sales prices.” In doing so, she obscures the fact

 3          that many of the CRT prices she studied were either significantly below or significantly

 4          above the alleged cartel target prices. See Declaration of Janet S. Netz, Ph.D., in Support of

 5          Motion of Indirect-Purchaser Plaintiffs for Class Certification (N.D. Cal.) (No. CV-07-5944-

 6          SC (Oct. 1, 2012) (“Netz Decl.”) 61-64; see also Willig Rebuttal Decl. ¶ 22-26.

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11                                                                                 Thus, Dr. Netz’s use of

12          averaging conceals hundreds of thousands of transactions as to which, even according to her

13          own analysis, the cartel was not effective.

14         To support her opinion that the alleged cartel target prices and Defendants’ CRT sales prices

15          exhibit a “price structure,” Dr. Netz uses hedonic regressions which rely upon the “average”

16          effect of product characteristics on either “group” target prices or “average” monthly sales

17          prices. Netz Decl. 68-71. Such averaging covers up the significant pricing differences that

18          appear in individual transactions, which exhibited substantial variation, and even Dr. Netz

19          has now been forced to concede that outside the litigation context, she cannot identify any

20          peer-reviewed literature discussing or supporting her hedonic regression methodology for

21          concluding that there was a “price structure.” Netz Tr. 389:9-13; see also Willig Rebuttal

22          Decl. ¶ 69. Nor does Dr. Netz have any explanation for her failure to perform any pricing

23          correlation analysis to determine whether there was a constant price relationship between

24          different CRT sizes, even though she performed just such a price correlation study between

25          different sized products in the LCD case. Netz Tr. 106:1-108:20. The only inference one can

26          draw is that such a correlation study would not support the existence of any price structure

27          with respect to CRTs – a conclusion demonstrated by the analyses of Dr. Willig. See Willig

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 1             Rebuttal Decl. ¶ 107.

 2            In all of her purported analyses of pass-through rates at both the retail and manufacturer-

 3             distributor levels, Dr. Netz estimates and reports only an “average” pass-through rate across

 4             all finished CRT products, and across all individual customers of finished CRT products at

 5             the retailer customer level. Netz Decl. 98-104, 113-17. Such averaging, of course, fails to

 6             account for all of the extensive variations in price that exist at the transactional level of

 7             individual sales. See Willig Rebuttal Decl. ¶¶ 109-112. Indeed, at her recent deposition, Dr.

 8             Netz conceded that she has no idea how many individual transactions showing zero pass-

 9             through exist in her data. Netz Tr. 343:15-25; Willig Rebuttal Decl. ¶¶ 117-119 (“[F]or some

10             entities, the pass-through rates were not positive in a significant number of instances. This

11             heterogeneity in pass-through rates is masked by Dr. Netz’s estimates of average pass-

12             through rates.”). Dr. Netz believes such transactions are “anomalies” (Netz Tr. 344:1-3), but

13             each such “anomaly” represents a real life individual class member who would not have

14             experienced any pass-through on his individual transaction—and Dr. Netz has no idea how

15             many such uninjured class member “anomalies” there are in her data set. Netz Tr. 344:4-6,

16             346:13-18.

17             In short, Dr. Netz’s pervasive use of averages conceals individualized pricing and pass-on

18   variations in the underlying, transaction-by-transaction data,40 and fails to account for precisely the

19   individual factors that would have had an impact on price and pass-on in specific transactions. See,

20   e.g., Netz Decl. 63 (admitting “grouping” target and actual prices fails to account for many product

21   characteristics “relevant to pricing, such as aspect ratio, the type of shadow mask a CRT has, dot

22   pitch, frequency, and coating”). Whatever justification there may be for using such averaging in

23   other contexts, it is inexcusable in a case like this where the very purpose of the pricing analyses is

24   to determine whether impact and injury can be proven for “all” class members from common

25   evidence or whether the variations hidden by averaging requires a case-by-case examination,

26   precluding class certification. Dr. Netz’s use of averaging makes it impossible to account for the

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          Willig Tr. 160-162, attached in its entirety as Exhibit 7 to Cole Reply Decl.
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 1   countless individual pricing differences in the markets for CRTs and finished CRT products, and

 2   therefore renders her testimony inherently unreliable in the class certification context. See GPU, 253

 3   F.R.D. at 495-96 (“Notably absent from [Dr. Netz’s GPU] analysis are other factors that would

 4   likely have an impact on prices . . . . Without incorporating such variables, it is impossible to

 5   account for the diversity in products and purchasers here.”); Flash Memory, 2010 WL 2332081, at

 6   *10 (“Dr. Netz’s regression analysis does not take into account individual variances in price trends

 7   based on a particular chip or a particular chip purchased by a specific Direct-Purchaser – or even

 8   more generally, by category of chip or category of customer. By looking only at an average price

 9   trend, Dr. Netz’s model obscures individual variations over time among the prices that different

10   customers pay for the same or different products that appear in the data.”).

11          Plaintiffs claim that “other district courts consistently hold that the use of averages” is

12   “appropriate when estimating damages.” Opp’n 25. This argument, however, misses the “critical

13   issue,” which “is not whether [the expert’s] techniques are generally accepted; it is whether they are

14   appropriate when applied to the facts and data in this case.” Reed, 268 F.R.D. at 594. Indeed,

15   “[w]hile averaging may be tolerable in some situations,” such as in estimating damages, the record

16   here, just as in GPU, shows that it is inherently unreliable for class certification purposes as it

17   “mask[s] important differences between products and purchasers” in pricing which must be

18   examined in order to determine whether there is a common method of proving class-wide fact of

19   injury.” GPU, 253 F.R.D. at 489, 494. None of Plaintiffs’ cited authorities support the proposition

20   that averages are “widely accepted” to prove common class-wide impact where (as here) they fail to

21   account for individual variances in price trends. In fact, even the cases cited by plaintiffs indicate

22   otherwise, i.e., that a class should not be certified where averages obscure pass-through rates that are

23   different for particular products or customers. See Gordon v. Microsoft Corp., No. MC 00-5994,

24   2003 WL 23105550, at *2 (Minn. Dist. Ct. Dec. 15, 2003) (noting that if Microsoft had “offered

25   [any] evidence or [an] expert to establish that the pass-through rate is different or unique for any

26   particular product, any distribution channel, any time frame, or any subset of class members,”

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 1   decertification would have been necessary).41 There is simply no reliable basis for Dr. Netz to have

 2   employed her averaging methodology here, where the CRT distribution structure was filled with

 3   price variations by products, customers, distribution channels, individual retailer philosophies, and

 4   terms and circumstances of sale. See Willig Rebuttal Decl. ¶ 76-77.42

 5           Plaintiffs try to argue against preclusion under Daubert by asserting that the use of averaging

 6   was a mere “technical” decision based on Dr. Netz’s judgment regarding which data was useable.43

 7   But the decision to employ “averages” to obscure transactional difference was a major substantive

 8   flaw in an analysis purportedly designed to determine whether it can be shown through common

 9   proof that all members of the putative class were injured or not; it was “key” to examining the issue

10   of common impact; and, by itself, provides ample ground for determining Dr. Netz’s analyses are

11   inherently unreliable. See, e.g., GPU, 253 F.R.D. at 504 (Dr. Netz’s analysis found to be “overly

12   reliant on averages [which] would thus sweep in an unacceptable number of uninjured plaintiffs”);

13   id. at 493 (“[A]verages can hide substantial variation across individual cases, which may be key to

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        The other cases cited by Plaintiffs rely on legal standards that either have no application in the
15   Ninth Circuit; are pre-Daubert or pre-Dukes; have nothing to do with the use of averaging by
     experts; and/or deal with the issue of measuring of damages, which is completely different from the
16   issue of using common proof to demonstrate class-wide impact and injury. See, e.g., Nasdaq, 169
     F.R.D. at 523 (involving measure of damages); In re Commercial Tissue Prods., 183 F.R.D. 589
17   (N.D. Fla. 1998) (declining to consider challenges to expert’s methodology because the court, pre-
     Dukes, held that it was precluded from engaging in a “battle of the experts”); J. Truett Payne Co. v.
18   Chrysler Motors Corp., 451 U.S. 557 (1981) (pre-Daubert; not involving expert use of averaging or
     aggregation); Bigelow v. RKO Radio Pictures, Inc., 327 U.S. 251 (1946) (same); Zenith Radio Corp.
19   v. Hazeltine Research, Inc., 395 U.S. 100 (1969) (same).
     42
20      Plaintiffs also cite part of a single sentence from In re Scrap Metal Antitrust Litigation, No. 1:02
     CV 0844, 2006 WL 2850453, at *16 (N.D. Ohio Sept. 30, 2006), stating that a defendant’s challenge
21   to averaging of the price spreads can only be relevant “if ‘averaging’ is not a generally accepted or
     legally acceptable economic tool for identifying uniform impacts.” Opp’n 25. Conveniently,
22   Plaintiffs omit the first part of that sentence, which makes it clear that the court’s statement in that
     case would apply only when there is an “unrebutted view that the market operated in a manner that
23   would yield a uniform impact from an anti-competitive conspiracy.” Scrap Metal, 2006 WL
     2850453, at *16. Obviously, that is not the situation here and, in any event, the Scrap Metal court
24   was addressing how to quantify or estimate damages only after uniform impact had already been
     determined.
     43
25      Dr. Netz’s claim that she had no choice but to aggregate data or “discard entire data sets” is not an
     excuse for inappropriately using averages to conceal pricing differences. If there were gaps in the
26   data produced that precluded a proper and reliable analysis, Dr. Netz had the ability to ask Plaintiffs’
     counsel to seek further data from Defendants or third parties if it was necessary to do so. The failure
27   of Plaintiffs to obtain such data for Dr. Netz is not a justification for doing an unreliable analysis.
     GPU, 253 F.R.D. at 495-96, 505-06.
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 1   determining whether there is common impact;” by resorting to averaging, plaintiffs’ expert “evaded

 2   the very burden that he was supposed to shoulder” and masked significant variation between

 3   products and purchasers); see also In re Live Concert Antitrust Litig., 863 F. Supp. 2d 966, 975-76

 4   (C.D. Cal. 2012) (finding that use of averaging and failure to account for important “differences in

 5   artist quality/popularity” “render[ed] [the expert’s] analysis ‘so incomplete as to be inadmissible as

 6   irrelevant’”) (quotation omitted); Allied Orthopedic Appliances, Inc. v. Tyco Healthcare Grp. L.P.,

 7   247 F.R.D. 156, 166-67 (C.D. Cal. 2007) (“proof of fact of injury requires much more than a simple

 8   showing that the plaintiffs purchased an item in a world where average prices were inflated”); Sheet

 9   Metal Workers Local 441 Health & Welfare Plan v. GlaxoSmithKline, PLC, No. 04-5898, 2010 WL

10   3855552, *30 (E.D. Pa. Sept. 30, 2010) (finding that use of averaging was inappropriate where the

11   evidence presented substantial variations in the prices paid by individual class members but

12   “plaintiffs’ use of average prices mask[ed] these individual variations”); Reed, 268 F.R.D. at 592

13   (finding that plaintiffs’ use of averages, when applied to the facts, “unacceptably mask[ed] []

14   significant variation” in base wages during the class period); ABA Section of Antitrust Law,

15   Econometrics: Legal, Practical, and Technical Issues 220 (ABA Publishing 2005) (“averages can

16   hide substantial variation across individual cases, which may be key to determining whether there is

17   common impact”).44

18           In the end, neither Dr. Netz nor Plaintiffs can escape the inherent fallacy in her averaging

19   approach. Dr. Netz’s own testimony underscores the lack of reliability of using averages in the

20   context of trying to determine whether a common method exists for proving injury from the alleged

21   cartel target prices to all class members:

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     44
23     The fact that Professor Willig uses some averages in his work in this litigation for a very different
     purpose than Dr. Netz, (Opp’n 27), is of no moment to determining whether Dr. Netz’s use of
24   averages is admissible.
25

26                    This is a very different purpose than the Netz analyses, which were required to
     examine, not obscure, the many differences in transaction pricing of CRTs and finished CRT
27   products to determine whether such variations precluded common proof of fact or injury for all
     putative class members.
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             Q. Let’s assume that the transaction data for one of your averages revealed that half the
 1           transactions were 25 percent below the target price and half were 25 percent above the
             target price. You would use an average and calculate that the transactions were all at the
 2           target price, correct, in that hypothetical?
 3           A. Yes.
 4
     Netz Tr. 158:14-22. There can be no question that such an averaging approach is completely
 5
     unsuitable and inadmissible for opining on whether a common method of proof can be utilized to
 6
     prove impact to all class members in the highly variable pricing that existed for different finished
 7
     CRT products sold to different putative class members throughout different retail channels in this
 8
     case.
 9
             D.     Dr. Netz’s Unsupported Assumption That Alleged Cartel Target Prices for
10                  CRTs Sold Abroad Were Also Applicable to the Sale of CRTs in North America
11

12                                                                           Mot. 27. Dr. Netz simply did

13   not study this geographic market issue as part of her original Declaration and,

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15

16           There is no basis to admit expert testimony which simply assumes, without any record

17   support, that such target prices for overseas sales applied to the sale of CRTs in the United States.

18   This is especially so, given the fact that Dr. Netz has not even tried to define the relevant geographic

19   market or to conduct a correlation analysis to show a price connection between CRTs sold in the

20   United States and those sold in overseas markets. Netz Tr. 38:16-23, 40:25-41:3. In fact, Dr. Netz

21   admits that she still has not done any comparison of CRT prices in North America with CRT prices

22   sold overseas, so she has no basis to opine on the existence of or absence of a price correlation (if

23   any) between such sales. Id. at 391:12-17; see also Willig Rebuttal Decl. ¶¶ 60-61.

24           Dr. Netz tries to justify this unsupported geographic pricing assumption in her testimony by

25   now performing what she claims to be a comparison of the alleged CRT target prices to sales by

26   Defendants of CRTs or finished CRT products sold in the United States. Netz Rebuttal Decl. 56, Ex.

27   26; Netz Tr. 302:1-14.

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14         Further, Plaintiffs cannot save Dr. Netz’s unsupported assumption about the

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21         Finally, even assuming, arguendo, that the

22                                                                                              their

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             E.     Dr. Netz’s Use of “One-Size-Fits-All” Economic Theory Instead of Actual
11                  Analysis

12           Dr. Netz continues to opine that the alleged CRT cartel charged a supra-competitive price for

13   every product, every time, based on the “theory” that cartels continue to operate for a long period of

14   time only if universally successful. Mot. 29-31; Netz Rebuttal Decl. 4. Theory alone cannot save

15   Dr. Netz’s testimony, which must be excluded because she simply did not study whether the alleged

16   CRT cartel in this case was in fact, not theory, successful with respect to all of the alleged

17   transactions at issue during the entire class period with respect to all putative class members. See

18   Netz MTS Decl. 13.46 Dr. Netz simply ignores and does not take into account the vast and very

19   specific record evidence cited by Defendants that demonstrates that (i) actual prices of tubes varied

20   widely based on individual negotiations with customers that differed on a case-by-case basis at any

21   given time; (ii) CRT tubes were highly specialized making it difficult to switch to another

22   manufacturer’s tubes; (iii) CRT prices were based on those special features; (iv) some CRT

23   customers were captive and subject to special transfer prices based on their common ownership; and

24   (v) CRT prices were based on a number of factors that were constantly in flux. Mot. 29-31. Neither

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     46
26      Dr. Netz conceded at her deposition, however, that economic theory, by itself, cannot prove
     impact in this case (Netz Tr. 371:24-372:10), and that it would be rational for the alleged CRT cartel
27   to exist for a long period of time even if it was effective only with respect to some products, some
     customers or some geographic markets. Mot. 13 citing Netz Tr. 153:17-154:9.
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 1   Plaintiffs nor Dr. Netz has offered any basis for ignoring this record evidence that fundamentally

 2   undermines the Netz testimony. For example, Dr. Netz recently conceded that she chose not to

 3   include any variable in her pass-through regressions to account for the undisputed record fact that

 4   LCD and plasma television competition with CRT products significantly increased during the class

 5   period, simply because it was her “subjective” decision not to do so. Netz Tr. 382:18-383:5.47 This

 6   deliberate exclusion of a relevant variable to account for undisputed record facts which would have a

 7   material effect on CRT prices is by itself a basis to exclude the Netz analyses. See, e.g., Live

 8   Concert, 863 F. Supp. 2d at 976 (citing Bazemore, 478 U.S. at 400 n. 10) (excluding plaintiffs’

 9   analysis where the expert “impermissibly” failed to account for important variables that impacted

10   prices); In re REMEC Inc. Sec. Litig., 702 F. Supp. 2d 1202, 1273-74 (S.D. Cal. 2010) (excluding a

11   regression analysis where plaintiffs’ expert assumed there was only one relevant factor and made no

12   attempt to account for other “key” variables, rendering his methodology fatally flawed); In re

13   Wireless Tel. Serv. Antitrust Litig., 385 F. Supp. 2d 403, 428 (S.D.N.Y. 2005) (excluding a

14   regression where plaintiffs’ expert failed to control for significant factors that affected prices,

15   rendering his analysis “essentially worthless”). Indeed, the “importance of accounting for the

16   relevant ‘major variables’ has been recognized as particularly important in the context of antitrust

17   litigation,” where flawed regression analysis can result in erroneous conclusions. Live Concert, 863

18   F. Supp. 2d at 973-74.

19           There is no basis for Plaintiffs’ claim that Dr. Netz “did not need to calculate the ‘but-for’

20   price of the CRTs” to study whether real world prices were actually supra-competitive or not. Opp’n

21   31 (“[a]t the class certification stage, proposing sound methodologies for calculating the but-for

22   price is sufficient”). To support this proposition, Plaintiffs cite LCD, SRAM and Rubber Chemicals,

23   but those cases merely state that experts need not supply a “precise damage formula” at class

24   certification.48 Dr. Netz’s failure here is not the absence of a “precise damages formula;”49 rather,

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     47
26     See Willig Rebuttal Decl. ¶¶ 124-125.
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        In re TFT-LCD (Flat Panel) Antitrust Litig., 267 F.R.D. 583, 606 (N.D. Cal. 2010); see also In re
27   Static Random Access Memory (SRAM) Antitrust Litig., 264 F.R.D. 603, 615 (N.D. Cal. 2009)
     (same); In re Rubber Chems. Antitrust Litig., 232 F.R.D. 346, 354 (N.D. Cal. 2005) (same).
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 1   her failure in not estimating the “but-for” price is that it has deprived her of the ability to provide any

 2   support for her critical factual assumptions that each of the alleged CRT cartel cost increases were

 3   both “significant” and “permanent.” Netz Tr. 325:14-326:24, 328:11-329:5. Without any basis to

 4   support these critical assumptions, Dr. Netz’s pass-through testimony does not meet its own self-

 5   defined requirements and collapses of its own weight.

 6           F.     Dr. Netz’s Unreliable Assumptions About the Product, Geographic and
                    Participant Scope of the Alleged Cartel
 7

 8           Finally, Dr. Netz admitted in her deposition that based on the allegations in Plaintiffs’

 9   complaint, she assumed a single, integrated, global conspiracy that covered both CDTs and CPTs in

10   which all Defendants participated uniformly. Netz Tr. 29:8-30:1. She did not try to determine the

11   relevant geographic and product markets. Id. at 40:25-41:3. And, she did not try to determine which

12   Defendants attended which alleged cartel meetings involving which CRTs or whether, at any

13   particular time, any given defendant was in the CDT or CPT business with respect to any particular

14   CRT tube types or sizes. Id. at 28:17-29:7, 47:1-48:2.

15           Plaintiffs now claim that Dr. Netz did review record evidence, such as meeting minutes and

16   deposition testimony, to determine the conduct of the alleged cartel. Opp’n 31-32 (“it is conduct that

17   matters to Dr. Netz’s conclusions”); Netz MTS Decl. 14. None of this changes Dr. Netz’s sworn

18   testimony on this subject, which specifically sets forth her extensive reliance on unsupported

19   complaint allegations to assume the scope and shape of the alleged cartel: “It’s my testimony that

20   my report takes as its foundation the conduct alleged in the complaint.” Netz Tr. 29:24-30:1

21   (emphasis added); see also id. at 29:12-15 (“I don’t recall what is alleged in the complaint, and I

22   never undertook any analysis dependent on whether there were multiple conspiracies or a single

23   conspiracy.”); id. at 32:23-33:2 (“I’ve not assumed a geographic market beyond the discussion in the

24   complaint about how the conspiracy worked. And to the best of my recollection, the complaint does

25   not specify a geographic region.”); id. at 47:9-14 (confirming that if the defendants were in the

26
     49
       Notably, not only has Dr. Netz failed to determine any “but-for” prices, she has not shown any
27   common methodology to determine individual but-for prices using common proof. See, e.g., Blades,
     400 F.3d at 574-75 (expert opinion could not overcome need to determine individual but-for prices).
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 1   business during the relevant period, she assumed they were part of the conspiracy).              This is

 2   indefensible for expert testimony when the conduct and marketplace facts being assumed are critical

 3   to the analysis and unsupported by the record. See Rowe Entm’t, Inc. v. William Morris Agency,

 4   Inc., No. 98 CIV, 8272, 2003 WL 22124991 (S.D.N.Y. Sept. 15, 2003) (expert testimony excluded

 5   for relying upon the unsupported assumptions supplied by plaintiffs’ counsel); Supply & Bldg. Co. v.

 6   Estee Lauder Int’l, Inc., No. 95 CIV. 8136, 2001 WL 1602976, at *4 (S.D.N.Y. Dec. 14, 2001)

 7   (expert testimony excluded for, among other reasons, relying upon client’s conclusory and

 8   unsupportable statements that were contradicted by the record); Argus Inc. v. Eastman Kodak Co.,

 9   612 F. Supp. 904, 926 (S.D.N.Y. 1985) (same).

10          Equally important,

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20          Indeed, Dr. Netz does not dispute that the scope of the alleged conspiracy could have varied

21   with respect to particular defendants and that this issue, if studied, could affect her conclusions about

22   proving common impact. Netz Tr. 47:16-48:2 (agreeing that if “some defendants had no role in any

23   discussions or agreements about CDTs,” that “could very well” affect her analysis and conclusions).

24   Despite this concession, Dr. Netz chose not to study any of these record facts and relied instead upon

25   the unsupported allegations about the scope of the conspiracy that are set forth in the complaint.

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     III.    PLAINTIFFS CANNOT SAVE DR. NETZ’S TESTIMONY BY CLAIMING THAT IT
 1           IS SUBSTANTIALLY SIMILAR TO THE TESTIMONY HELD TO BE
             ADMISSIBLE IN THE LCD LITIGATION
 2
             Recognizing that Dr. Netz’s analyses cannot withstand the independent scrutiny of this
 3
     Court, Plaintiffs attempt to hide behind Judge Illston’s ruling in the LCD antitrust litigation that Dr.
 4
     Netz’s purportedly similar expert testimony was admissible in that case. See Opp’n 5-9.50 This
 5
     argument should be rejected out of hand.
 6
             First, Plaintiffs are precluded from trying to meet their Daubert burden here by relying on the
 7
     admissibility ruling in LCD given their refusal to produce the testimony and expert materials
 8
     submitted by Dr. Netz in the LCD litigation.             Netz Tr. 296:1-5; 297:3-299:7; 318:6-320:15.
 9
     Plaintiffs claim that the protective order in LCD prevents them from revealing the confidential
10
     contents of Dr. Netz’s expert work in that case, but Plaintiffs cannot use the LCD protective order as
11
     a sword and shield. Id. If Plaintiffs are unable to produce Dr. Netz’s confidential expert work from
12
     LCD, they cannot claim that the alleged similarity of that work to her work here supports the
13
     admissibility of her opinions in this case. Neither Defendants nor this Court should be forced to
14
     merely accept Plaintiffs’ assertions in this regard without any ability to verify them.51 See In re Leap
15
     Wireless Int’l, Inc., 301 B.R. 80, 84-85 (Bankr. S.D. Cal. 2003) (striking expert testimony under
16
     Daubert where expert’s refusal to disclose the underlying facts or data upon which he relied on left
17
     the court “with the bare option of . . . to trust but not to verify”); In re Lake States Commodities, Inc.,
18
     271 B.R. 575, 587-88 (Bankr. N.D. Ill. 2002) (holding that “the [report] carries no weight due to the
19
     lack of meaningful testing of the information upon which it is based and the insufficient validation of
20
     the underlying sources”).
21
     50
22      Plaintiffs rely primarily on Judge Illston’s February 21, 2012 decision denying defendants’ motion
     to strike; however, that decision is largely a regurgitation of the court’s decision on class
23   certification and defendants’ original motion to strike, which barely applied any scrutiny to the Netz
     testimony, apparently under the mistaken belief that it was inappropriate to do so at class
24   certification. See LCD, 267 F.R.D. 583, 606 (N.D. Cal. 2010); LCD, No. M 07-1827, 2012 WL
     555090 (N.D. Cal. Feb. 21, 2012).
     51
25      While Dr. Netz’s heavily redacted expert report in support of the indirect purchasers’ motion for
     class certification was filed publicly, the bases for Dr. Netz’s analyses cannot be discerned from
26   these redacted versions. Declaration of Janet S. Netz, Ph.D., in Support of Indirect-Purchaser
     Plaintiffs’ Motion for Class Certification, LCD, 07-md-1827 (N.D. Cal.) [Dkt. No. 1023-5-10] (June
27   2, 2009). Moreover, Dr. Netz’s merits and damages reports in LCD were filed under seal in their
     entirety. LCD, 07-md-1827 (N.D. Cal.) [Dkt. No. 3944] (Oct. 19, 2011).
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 1             That is particularly so given the fact that even the limited information available regarding Dr.

 2   Netz’s expert testimony in LCD shows that her analyses in that case – involving different products,

 3   different defendant groups and different time periods – were not substantially similar to her analyses

 4   or methodologies here. For example, Dr. Netz has admitted that she conducted a price correlation

 5   analysis between different sizes of LCD to support her conclusion of a prices structure in the LCD

 6   litigation, but chose not to do such an analysis here, for her own “subjective” reasons. Netz Tr.

 7   106:1-108:20. Without having access to Dr. Netz’s analyses and their underlying support in the

 8   LCD litigation, neither Defendants nor this Court can make any determination about whether the

 9   decision by Judge Illston to admit Dr. Netz’s testimony in the LCD litigation has any relevance to

10   her very different methodologies and analyses in this case, which presents a very different factual

11   record.

12             In any event, regardless of Plaintiffs’ unsupported and unverifiable claims that the CRT and

13   LCD markets are “comparable” and that Dr. Netz’s analyses and opinions were “nearly identical” in

14   both cases, this Court must review the facts in this record and Dr. Netz’s analyses in this case alone

15   to fulfill its role as gatekeeper of admissible expert testimony under Daubert. See, e.g., Hendrix v.

16   Evenflo Co., 609 F.3d 1183, 1195 (11th Cir. 2010) (recognizing that the reliability of an expert’s

17   methodology must be judged by considering the reasonableness of applying the methodology to the

18   specific facts of the case); see also Daubert v. Merrell Dow Pharm., Inc., 43 F.3d 1311, 1316 (1995)

19   (court must “analyze not what the experts say, but what basis they have for saying it”). Neither

20   LCD, nor any of the other inapposite cases cited by Plaintiffs in which expert testimony has been

21   held to be admissible, is of any help to Plaintiffs in staving off a Daubert exclusion of Dr. Netz’s

22   unreliable testimony in this litigation. In this case, the record is clear that Dr. Netz has relied upon

23   unsupported factual assumptions and defective methodologies which render her testimony the very

24   type of junk science which the courts are required to exclude under Daubert and its progeny.

25                                                CONCLUSION

26             For each reason stated above and in Defendants’ Motion, Defendants’ Motion to Strike the
27   Expert Testimony of Dr. Netz should be granted.
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     been obtained from each of the above signatories.
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